     Case 1:25-cv-10676-BEM          Document 98         Filed 05/14/25   Page 1 of 14




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,                                  Case No. 25-cv-10676-BEM

                 v.

U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



    PLAINTIFFS’ BRIEF IN SUPPORT OF JOINDER OF THE DEPARTMENT OF
                            DEFENSE (DKT. 93)
         Case 1:25-cv-10676-BEM                       Document 98              Filed 05/14/25             Page 2 of 14




                                                 TABLE OF CONTENTS
                                                                                                                                Page

I.    INTRODUCTION ................................................................................................................... 1

II. BACKGROUND ..................................................................................................................... 1

     A. DoD’s Involvement in Immigration Enforcement Operations............................................ 1

     B. DoD’s Involvement in Class Members’ Removals and Attempted Removals ................... 4

III. THE COURT SHOULD JOIN DoD AS A PARTY ................................................................ 6

     A. Joinder Is Necessary under Rule 19 .................................................................................... 6

          1. Defendants rely on DoD for carrying out third-country removals ................................. 7

          2. Defendants’ own statements demonstrate DoD’s interest in the subject of Plaintiffs’
            claims which may be impeded or impaired by DoD’s absence ....................................... 8

     B. Joinder Is Appropriate under Rule 20 ................................................................................. 9

IV. CONCLUSION ..................................................................................................................... 10




                                                                   i
      Case 1:25-cv-10676-BEM           Document 98        Filed 05/14/25     Page 3 of 14




I.     INTRODUCTION

       Pursuant to the Court’s May 7, 2025, order, Dkt. 93, Plaintiffs submit that this Court

should join the Department of Defense (DoD) as a party to this action. This case challenges

removing class members to a third country without affording them meaningful notice and

opportunity to present a fear-based claim before an immigration judge. Because Defendants have

submitted evidence that DoD plays a central and independent role in carrying out these third-

country removals, including by detaining class members at Guantánamo Bay and/or deporting

them via military aircraft, joinder is necessary pursuant to Federal Rules of Civil Procedure 19

and, alternatively, appropriate under Rule 20.

       Defendants’ submissions in this case, as well as a Memorandum of Understanding

between the Department of Homeland Security (DHS) and DoD regarding Guantánamo Bay,

evidence DoD’s significant involvement in third country removals, rendering it necessary and

appropriate for DoD to be bound by any preliminary injunctive relief and any ultimate

declaratory and permanent injunctive relief.

II.    BACKGROUND

       A.      DoD’s Involvement in Immigration Enforcement Operations

       The evolving facts in this case have amply demonstrated DoD’s emerging role in

immigration enforcement, extending beyond logistical support to direct participation in detention

and removal operations. Such involvement encompasses the expansion of immigration detention

at Naval Station Guantánamo Bay (NSGB) and the utilization of military aircraft and personnel

for removal flights. Moreover, Defendants themselves have declared that DoD now plays a

significant role in immigration enforcement, averring that DoD has taken custody of class

members and removed them to a third country without DHS’s direction. See Declaration of



                                                 1
       Case 1:25-cv-10676-BEM           Document 98        Filed 05/14/25       Page 4 of 14




Tracy J. Huettl, Dkt. 72-1 ¶¶ 12, 18, 27, 51; see also Dkt. 72 at 2; Dkt. 86.

       On January 29, 2025, President Trump issued an executive order “direct[ing] the

Secretary of Defense and the Secretary of Homeland Security to take all appropriate actions to

expand the Migrant Operations Center at [NSGB] to full capacity” for the detention of “high-

priority criminal aliens unlawfully present in the United States.” The White House, Expanding

Migrant Operations Center at Naval Station Guantanamo Bay to Full Capacity (Jan. 29, 2025),

https://www.whitehouse.gov/presidential-actions/2025/01/expanding-migrant-operations-center-

at-naval-station-guantanamo-bay-to-full-capacity/. The executive order also tasked both DoD

and DHS with “address[ing] attendant immigrant enforcement needs identified” by both

agencies. Id. In response, DoD swiftly deployed over 1,000 active-duty military personnel from

the Army, Navy, Marine Corps, and National Guard to manage detention facilities. See Press

Release, U.S. Southern Command, U.S. Military Troops Arrive at Naval Station Guantanamo

Bay for Illegal Alien Holding Operations (Feb. 3, 2025), https://www.southcom.mil/News/

PressReleases/Article/4050872/us-military-troops-arrive-at-naval-station-guantanamo-bay-for-

illegal-alien-hol/ (announcing deployment of “[m]ore than 150 service members”); Drew F.

Lawrence, More Troops Sent to Guantanamo Bay as Court Testimony Shows One-Third of

Detainees Were “Low Threat,” Military.com (Feb. 21, 2025), https://www.military.com/daily-

news/2025/02/21/more-troops-sent-guantanamo-bay-court-testimony-shows-one-third-of-

detainees-were-low-threat.html (reporting that the number of troops deployed for immigration

detention “continues to swell, with approximately 1,100 service members now deployed”).

       DoD has continued to play an increasingly direct role in the detention of immigrants at

NSGB. See generally Ex. A (Memorandum of Understanding Between DHS & DoD for DoD

Support at Naval Station Guantanamo Bay (NSGB) to U.S. Immigr. & Customs Enf’t (ICE) for



                                                 2
       Case 1:25-cv-10676-BEM            Document 98        Filed 05/14/25       Page 5 of 14




DHS/ICE Detention of Illegal Aliens Subject to Final Orders of Removal (Mar. 7, 2025))

(MOU). Under the MOU, DoD is responsible not only for providing the facilities themselves, id.

¶¶ 4.2.1-4.2.2, but also for key functions such as determining detention capacity, id. ¶ 4.2.5;

providing health services, first aid, and emergency medical care for detained individuals, id.

¶ 4.2.3, facility access and security, ¶ 4.2.4, hygiene and sanitation, ¶ 4.2.6, transportation of

personnel and contractors, id. ¶ 4.2.7, and support with detained individuals’ access to counsel,

id. ¶ 4.2.8. As recently as early May, “the task force in charge of migrant detention” at NSGB

consisted of “about 725 staff members, mostly uniformed Army and Marine forces, with 100

employed by ICE as security officers or contractors.” Carol Rosenberg, Guantánamo Migrant

Operation Has Held Fewer Than 500 Detainees, and None in Tents, N.Y. Times (May 5, 2025)

(emphasis added), https://www.nytimes.com/2025/05/05/us/politics/

guantanamo-migrants-trump.html (“The military says it can pivot and expand migrant operations

at Guantanamo, depending on need.”).

       Individuals transported for detention at Guantánamo Bay undoubtedly include class

members—i.e., individuals subject to final removal orders, including those who “have been

ordered deported because of civil immigration violations . . . .” Camilo Montoya-Galvez, U.S.

Sending Nonviolent, “Low-Risk” Migrants to Guantanamo, Despite Vow to Detain “the Worst”

There, CBS News (Feb. 12, 2015), https://www.cbsnews.com/news/guantanamo-bay-migrants-

trump/; Carol Rosenberg, What We Know About the Month-Old Migrant Mission at Guantánamo

Bay, N.Y. Times (Mar. 10, 2025), https://www.nytimes.com/2025/03/10/us/politics/deportations-

migrants-guantanamo.html (“[A]ll of those held there this past weekend had final deportation

orders and were from 20 different countries . . . .”). The MOU between DHS and DoD further

explains that NSGB will be used to detain noncitizens who are subject to final orders of removal



                                                   3
      Case 1:25-cv-10676-BEM           Document 98        Filed 05/14/25      Page 6 of 14




and with a “nexus to a transnational criminal organization (TCO) or criminal activity,” but

defines such “nexus” broadly to include individuals “from a country where the preponderance of

[noncitizens]” pay a smuggler from an alleged TCO to enter the United States. Ex. A ¶ 3.

       Even more concerning, DoD has participated in executing removals by military aircraft.

See, e.g., Idrees Ali & Phil Stewart, U.S. Military Aircraft Deport Migrants as Pentagon Readies

More Troops for Border, Reuters (Jan. 24, 2025), https://www.reuters.com/world/

americas/us-military-aircraft-deport-migrants-pentagon-readies-more-troops-border-2025-01-

24/; Eric Schmitt & Helene Cooper, Hegseth Promises “Shift” at Pentagon and a Focus on

Immigration, N.Y. Times (Jan. 27, 2025), https://www.nytimes.com/2025/01/27/us/politics/

hegseth-defense.html (quoting Defense Secretary Pete Hegseth’s statement that “the Pentagon

would ‘absolutely continue’ to use military aircraft to deport undocumented migrants”). Some of

these flights have operated without DHS agents on board, as Defendants have submitted in this

case. See Dkt. 72-1 ¶¶ 12, 18, 27, 51; see also Dkt. 72 at 2. Further, multiple news outlets and

individual class members recently reported that the government intended to use a military

aircraft to deport individuals to Libya, prompting Plaintiffs to file an emergency TRO motion.

See generally Dkt. 89; see also, e.g., Kimmy Yam & Laura Strickler, Why Asian and Mexican

Immigrants, Moments Away from Being Deported to Libya, Never Left the U.S., NBC News

(May 8, 2025), https://www.nbcnews.com/news/us-news/asian-mexican-migrants-libya-sat-

texas-military-plane-rcna205668 (reporting noncitizen had been “told he was being sent to

Libya, and then waiting for hours on a bus at a military base outside a military plane”); Ex. B

(Decl. of Johnny Sinodis) ¶¶ 32-33; Ex. C (Decl. of Tin Thanh Nguyen) ¶¶ 10-11.

       B.      DoD’s Involvement in Class Members’ Removals and Attempted Removals

       On April 10, 2025, this Court ordered Defendants to provide information regarding



                                                 4
       Case 1:25-cv-10676-BEM            Document 98        Filed 05/14/25       Page 7 of 14




reported violations of its March 28, 2025 Temporary Restraining Order (TRO). See Dkt. 62.

Defendants have put forth sworn testimony that four individuals, who were deported to third

countries likely without provision of the protections required by the TRO, were “removed to El

Salvador by the [DoD] on a flight where no DHS personnel were onboard” and that “DHS did

not direct the [DoD] to remove” these individuals. Dkt. 72-1 ¶¶ 12, 18, 27, 51; see also Dkt. 72

at 2. Defendants added that “DHS did not violate” the TRO, and that DoD “is not a defendant in

this action.” Dkt. 72 at 2, 3.

        Defendants rearticulated that DoD separately and independently deported class members

at the April 28, 2025 status conference before this Court. See Dkt. 86 (“Defendants have

represented to this court that that removals from Guantanamo Bay to third countries have been

executed by the [DoD] without the [DHS]’s direction or knowledge”). As a result, this Court

amended its preliminary injunction (PI) to expressly provide that “prior to removing, or allowing

or permitting another agency to remove, [a noncitizen] from Guantanamo Bay to a third country,

Defendants must comport with the terms of the April 18, 2025 preliminary injunction.” Id.

(emphasis added).

        However, DoD has continued its involvement in facilitating the removal of class

members covered by the PI from the contiguous United States to third countries. On May 7,

2025, after media reports and reports from immigration attorneys indicated that Defendants were

seeking to deport class members to Libya and Saudia Arabia, Plaintiffs filed an emergency

motion for a TRO with the evidence that it had gathered by the time of filing. See Dkt. 89. After

the Court clarified its PI order, see Dkt. 91 at 2, Plaintiffs received further evidence that thirteen

men, not from Libya and never ordered removed to Libya, were transported from the South

Texas Immigration and Customs Enforcement (ICE) Processing Center to the Lackland Airforce



                                                   5
       Case 1:25-cv-10676-BEM            Document 98        Filed 05/14/25      Page 8 of 14




Base in San Antonio, Texas, where a military plane was waiting to deport them to Libya. See

Dkt. 90-6; see also Ex. B. ¶ 32 (“My client states that the bus was driven to what appeared to be

a military airport where a large military plane was waiting.”); Ex. C ¶ 11 (“Throughout the base,

there were people in military uniform and military vehicles.”); Ex. D (Decl. of Kristin Macleod-

Ball) ¶¶ 5-16 (confirming that a minimum of eleven of the men had final removal orders issued

by an immigration court and, thus, are class members). Critically, the men were not provided the

notice and opportunity to seek CAT protection required by the PI. Ex. B ¶¶ 6-7; Ex. C ¶¶ 5-6. 1

III.    THE COURT SHOULD JOIN DOD AS A PARTY

        A.       Joinder Is Necessary under Rule 19

        Under Federal Rule of Civil Procedure 19(a)(1), an absent party must be joined to

litigation if:

        (A) in that [party]’s absence, the court cannot accord complete relief among
            existing parties; or

        (B) that [absent party] claims an interest relating to the subject of the action and is
            so situated that disposing of the action in the [absent party]’s absence may:
               (i) as a practical matter impair or impede the [absent party]’s ability to
               protect the interest; or
               (ii) leave an existing party subject to a substantial risk of incurring double,
               multiple, or otherwise inconsistent obligations because of the interest.

Fed. R. Civ. P. 19(a)(1)(A)-(B). Application of the rule requires a fact-based, case-specific

inquiry. See, e.g., Bacardi Int’l Ltd. v. V. Suarez & Co., Inc., 719 F.3d 1, 9 (1st Cir. 2013). DHS’

actions and attestations since this case was filed indicate that Rule 19 joinder of DoD is now

warranted.




1
        The men were ultimately transported back to an immigration detention center after
remaining on a bus on the base’s tarmac for three or four hours. Ex. B ¶¶ 33-34; Ex. C ¶ 12. It is
unclear whether undersigned counsel’s inquiry to opposing counsel was the reason that the flight
did not take off.
                                                  6
       Case 1:25-cv-10676-BEM             Document 98         Filed 05/14/25       Page 9 of 14




                1.      Defendants rely on DoD for carrying out third-country removals

        To the extent that Defendants attest and acknowledge that DoD is responsible for key

aspects of class members’ removal and that they have no control over DoD’s actions, joinder is

necessary to “accord complete relief among existing parties.” Fed. R. Civ. P. 19(a)(1)(A).

Joinder is appropriate where the practical effect of a judgment may be incomplete due to the

absence of an entity identified as a key actor in the challenged scheme. See, e.g., Citizen

Potawatomi Nation v. Salazar, 624 F. Supp. 2d 103, 112-13 (D.D.C. 2009) (“The Court of

Appeals has broadly characterized necessary parties as “those ‘affected by the judgment and

against which in fact it will operate . . . .’” (alteration in original) (citation omitted)). By contrast,

where “[t]he court’s remedial scheme” requires “no action” by a party, the party is not

indispensable. Watchtower Bible & Tract Soc’y of N.Y., Inc. v. Mun. of San Juan, 773 F.3d 1, 14

(1st Cir. 2014); see also, e.g., J & J Sports Prods. Inc. v. Cela, 139 F. Supp. 3d 495, 504-05 (D.

Mass. 2015) (concluding absent parties are not indispensable because “no other party is needed

to provide [the plaintiff] the relief it seeks from Defendants”).

        The same principles apply here. DoD’s active participation in both immigration detention

and carrying out removals results from directives by both President Trump and Defense

Secretary Hegseth and confirmed by media reports at large, see supra Section II.A. And

critically, as this Court recognized, Defendants themselves have pointed to DoD’s role in

“conducting third country removals, allegedly without any involvement of DHS.” Dkt. 93; see

also supra Section II.B. At a minimum, Defendants’ position injects uncertainty into the question

of who holds operational authority and who would be bound by relief. If DHS disclaims

responsibility for, or control over, the removal of certain class members to third countries

because they were undertaken by DoD, and if Plaintiffs seek to prevent removals without first



                                                    7
      Case 1:25-cv-10676-BEM           Document 98        Filed 05/14/25       Page 10 of 14




providing “meaningful notice and opportunity to present a fear-based claim to an immigration

judge,” Dkt. 1 ¶¶ 107, 110, 117, the Court’s ability to grant the requested relief may be frustrated

unless DoD is bound by it.

       In short, joinder is necessary because Defendants’ own position—that DoD executed key

aspects of the challenged enforcement—risks leaving Plaintiffs without an effective remedy.

               2.      Defendants’ own statements demonstrate DoD’s interest in the subject
                       of Plaintiffs’ claims which may be impeded or impaired by DoD’s
                       absence

       Similarly, Defendants’ statements demonstrate DoD’s “interest relating to the subject of

the action” and that the agency’s “absence may . . . impair or impede [DoD’s] ability to protect

the interest.” Fed. R. Civ. P. 19(a)(1)(B)(i). Here, DoD, by Defendants’ admission, has acted to

deport class members without regard to protections required by this Court’s TRO, purportedly

absent any direction from Defendants; DoD’s actions with regard to the anticipated flight to

Libya similarly impact class members covered by the PI. See supra Section II.B. Defendants

have suggested they have no obligation to defend or justify these actions. See Dkt. 72 at 2-3.

Thus, DoD should be joined as a Defendant in order to protect its interests.

       In determining whether existing parties will adequately protect the interests of an absent

entity, a court considers whether “the interests of [the] absent party are aligned closely enough

with the interests of an existing party” and whether “the existing party [will] pursue[] those

interests in the course of the litigation.” Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Flanders-

Borden, 11 F.4th 12, 17 (1st Cir. 2021); see also Bacardi, 719 F.3d at 10-12 (examining whether

existing and absent party had “virtually identical interests”). Additionally, the court should

consider whether the impact of judgment in a case would be a “direct and immediate”

impediment to those separate interests. Massachusetts v. Wampanoag Tribe of Gay Head, 98 F.



                                                 8
      Case 1:25-cv-10676-BEM              Document 98         Filed 05/14/25       Page 11 of 14




Supp. 3d 55, 71 (D. Mass. 2015).

        Here, Defendants’ claims demonstrate that DoD has a separate interest in this case and

acted to carry out third country removals without DHS direction or personnel on board, see

Dkt. 72, Dkt. 72-1, Dkt. 93, likely without the protections of the TRO, and was prepared to carry

out removal of class members to Libya without providing the protections required by the PI, see

Dkt. 89; Ex. B; Ex. C. Accordingly, Defendants should not be permitted to evade the

requirements of the PI as well as any later-issued declaratory or permanent injunctive relief by

placing responsibility for violations on DoD. Cf. Dkt. 91; Dkt. 86. Absent joinder as a party,

DoD would have no opportunity to respond to these claims.

        B.      Joinder Is Appropriate under Rule 20

        Under the rule of permissive joinder, a party may be joined as a defendant where

plaintiffs assert a “right to relief . . . against them jointly, severally, or in the alternative with

respect to the . . . the same transaction, occurrence, or series of transactions or occurrences,” and

the action presents a “question of law or fact common to all defendants.” Fed. R. Civ. P.

20(a)(2)(A)-(B). The rule also specifies that where joinder is permitted, “[t]he court may grant

judgment . . . against one or more defendants according to their liabilities.” Fed. R. Civ. P.

20(a)(3). Designed to promote judicial efficiency and “prevent[] multiple lawsuits,” the rule

permits claims “arising out of the same litigable event [to] be tried together, thereby avoiding . . .

unnecessary loss of time and money to the court and the parties . . . .” 7 Charles Alan Wright et

al., Federal Practice & Procedure § 1652 (3d ed. Apr. 2025 update); cf. United Mine Workers of

Am. v. Gibbs, 383 U.S. 715, 724 (1966) (“[T]he impulse is toward entertaining the broadest

possible scope of action consistent with fairness to the parties; joinder of claims, parties and

remedies is strongly encouraged.” (citing in part Fed. R. Civ. P. 20)).



                                                     9
      Case 1:25-cv-10676-BEM           Document 98         Filed 05/14/25      Page 12 of 14




       Both requirements of Rule 20(a)(2) are satisfied here. First, given Defendants’ sworn

testimony that DoD is involved in carrying out third-country removals and Defendants’

corresponding attempt to shirk responsibility for violations of this Court’s orders, see supra

Section II.B, Plaintiffs assert rights to relief against DoD with respect to “the same transaction,

occurrence, or series of transactions or occurrences.” Fed. R. Civ. P. 20(a)(2)(A). As the First

Circuit has explained, “the ‘transaction or occurrence’ standard requires only a ‘logical relation’

between the claims.” Kress Stores of Puerto Rico Inc. v. Wal-Mart Puerto Rico, Inc., 121 F.4th

228, 245 (1st Cir. 2024). Here, such a logical relation exists because “the same aggregate of

operative facts serves as the basis of” Plaintiffs’ claims against both DHS and DoD. Id. (citation

omitted). Any acts by DoD related to this case comprise part of the same third-country removal

scheme that Plaintiffs challenge. Accordingly, the requirement of Rule 20(a)(2)(B) is also met

because DoD would face the same factual and legal questions already presented in this case,

concerning the government’s practices with respect to third-country removal and the sufficiency

of the process afforded to class members before such removals take place.

       Given the intertwined roles of DHS and DoD in the detention and removal practices

challenged here, and the common legal and factual questions their actions raise, joinder of DoD

as a defendant under Rule 20(a)(2) is appropriate to promote judicial efficiency, avoid

duplicative litigation, and ensure a comprehensive resolution of Plaintiffs’ claims.

IV.    CONCLUSION

       The Court should join DoD as a defendant in this action.

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     Case 1:25-cv-10676-BEM         Document 98        Filed 05/14/25   Page 13 of 14




Respectfully submitted,

 s/Trina Realmuto
 Trina Realmuto*                             Matt Adams*
 Kristin Macleod-Ball*                       Leila Kang*
 Mary Kenney*                                Aaron Korthuis*
 Tomas Arango                                Glenda M. Aldana Madrid*
 NATIONAL IMMIGRATION                        NORTHWEST IMMIGRANT
    LITIGATION ALLIANCE                        RIGHTS PROJECT
 10 Griggs Terrace                           615 Second Avenue, Suite 400
 Brookline, MA, 02446                        Seattle, WA 98104
 (617) 819-4649                              (206) 957-8611
 trina@immigrationlitigation.org             matt@nwirp.org

 Anwen Hughes*
 HUMAN RIGHTS FIRST
 75 Broad Street, 31st Floor
 New York, NY 10004
 (212) 845-5244
 HughesA@humanrightsfirst.org
                                   Attorneys for Plaintiffs

 * Admitted pro hac vice

Dated: May 14, 2025




                                             11
      Case 1:25-cv-10676-BEM           Document 98        Filed 05/14/25      Page 14 of 14




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

s/ Kristin Macleod-Ball
Kristin Macleod-Ball

DATED: May 14, 2025




                                                 12
